 Case 2:24-cv-00055-SPC-NPM Document 7 Filed 01/23/24 Page 1 of 1 PageID 70



                                  VERIFIED RETURN OF SERVICE
State of Florida                                            County of                                              U.S. District Court
Case Number: 2:24-CV-55-SPC-NPM

Plaintiff: Dale Ylitalo and R4 Construction, LLC, individually and on
behalf of all others similarly situated                                                                        BII2024000450
vs.
Defendant: Automatic Data Processing, Inc., and American Century
Investments Services, Inc
For:
Megan E. Shaw, Esq.
Parrish & Goodman, PLLC
13031 McGregor Blvd
Ste 8
Fort Myers, FL 33919
Received by Burke Process Service on the 19th day of January, 2024 at 10:45 am to be served on
AUTOMATIC DATA PROCESSING, INC. c/o r/a CT CORPORATION SYSTEM, 1200 S PINE ISLAND RD,
PLANTATION, FL 33324.

I, Sandra Quinones, do hereby affirm that on the 22nd day of January, 2024 at 2:50 pm, I:
CORPORATE: served by delivering a true copy of the SUMMONS IN A CIVIL ACTION, CLASS ACTION
COMPLAINT, CIVIL COVER SHEET with the date and hour of service endorsed thereon by me, to:
Donna Moch as Designated agent, employed therein and authorized to accept service for
AUTOMATIC DATA PROCESSING, INC. c/o r/a CT CORPORATION SYSTEM, at the address of: 1200
S PINE ISLAND RD, PLANTATION, FL 33324, and informed said person of the contents therein, in
compliance with state statutes.

Description of Person Served: Age: 58, Sex: F, Race/Skin Color: Caucasian, Height: 5'3", Weight: 140,
Hair: Light Brown, Glasses: N
Under penalties of perjury, I declare that I have read the foregoing Return of Service and the facts stated
are true and correct. NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2). I certify that I am over
the age of 18, have no interest in the above action and am a Process Server, in good standing, in the
judicial circuit in which the process was served.




                                                                          Sandra Quinones
                                                                          SPS # 394

                                                                          Burke Process Service
                                                                          10200 W. State Road 84
                                                                          Suite 218
                                                                          Davie, FL 33324
                                                                          (954) 514-0116

                                                                          Our Job Serial Number: BII-2024000450




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